          Case 6:08-cv-01171-MLB Document 55 Filed 04/13/09 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

TONYA A. BOWEN-SOTO, on her behalf        )
and as Next Friend of JS, HS and AS,      )
                                    Plaintiff,
                                          )
                                          )
      v.                                  )                 Case No. 08-1171-MLB-DWB
                                          )
CITY OF LIBERAL, KANSAS,                  )
                              Defendant.  )
__________________________________________)


                                    NOTICE OF SERVICE

        The defendant states that the following was submitted in accordance with Fed. R. Civ. P.

5(d):

        Disclosure of Expert Witness

                                             WATKINS CALCARA, CHTD.

                                             s/ Allen G. Glendenning__________________
                                                     Allen G. Glendenning, #12187
                                                     1321 Main - Suite 300
                                                     P.O. Drawer 1110
                                                     Great Bend, Kansas 67530
                                                     (620) 792-8231
                                                     Fax (620) 792-2775
                                                     aglenden@wcrf.com
                                                     Attorneys for Defendant

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of April, 2009, I electronically filed the above and
foregoing Notice of Service with the clerk of the court by using the CM/ECF system which will send
a notice of electronic filing to the following: Randall K. Rathbun.

                                             s/ Allen G. Glendenning__________________
                                                     Allen G. Glendenning, #12187
